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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1866V
                                          UNPUBLISHED


    LINDSAY GERAGHTY,                                           Chief Special Master Corcoran

                         Petitioner,                            Filed: June 21, 2022
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Edward M. Kraus, Kraus Law Group, LLC, Chicago, IL, for Petitioner.

Tyler King, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES1

       On December 15, 2020, Lindsay Geraghty filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that that she suffered right shoulder injuries related to
vaccine administration (“SIRVA”) as a result of an influenza (“flu”) vaccine received on
October 2, 2019. Petition at 1. Petitioner further alleges that the vaccine was administered
in the United States, she experienced residual effects of her condition for more than six
months, and she has not received compensation in the form of an award or settlement
for her vaccine-related injuries nor has she filed a civil action for her injuries. Petition at
¶¶ 3, 14-16, 18. The case was assigned to the Special Processing Unit of the Office of
Special Masters.



1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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        On June 15, 2022, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On June 20, 2022, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $45,340.87. Proffer at
2. In the Proffer, Respondent represented that Petitioner agrees with the proffered award.
Id. Based on the record as a whole, I find that Petitioner is entitled to an award as stated
in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $45,340.87 (representing $45,000.00 in pain and suffering and
$340.87 in past unreimbursable expenses) in the form of a check payable to
Petitioner. This amount represents compensation for all damages that would be available
under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

                                                     )
 LINDSAY GERAGHTY,                                   )
                                                     )
                Petitioner,                          )
                                                     )   No. 20-1866V
 v.                                                  )   Chief Special Master Corcoran
                                                     )   ECF
 SECRETARY OF HEALTH AND HUMAN                       )
 SERVICES,                                           )
                                                     )
                Respondent.                          )
                                                     )

            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On December 15, 2020, Lindsay Geraghty (“petitioner”) filed a petition for compensation

under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34

(“Vaccine Act” or “Act”), alleging that she suffered a Shoulder Injury Related to Vaccine

Administration (“SIRVA”), as defined in the Vaccine Injury Table, following administration of

an influenza vaccine she received on October 2, 2019. Petition at 1. On June 13, 2022, the

Secretary of Health and Human Services (“respondent”) filed a Rule 4(c) Report indicating that

this case is appropriate for compensation under the terms of the Act for a SIRVA Table injury,

and on June 15, 2022, the Chief Special Master issued a Ruling on Entitlement finding petitioner

entitled to compensation. ECF No. 33.

I.     Items of Compensation

       A.     Pain and Suffering

       Respondent proffers that petitioner should be awarded $ $45,000.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.
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       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents that she incurred past unreimbursable

expenses related to her vaccine-related injury. Respondent proffers that petitioner should be

awarded past unreimbursable expenses in the amount of $340.87. See 42 U.S.C. § 300aa-

15(a)(1)(B). Petitioner agrees.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following1: a lump sum payment of $ $45,340.87, in the form of

a check payable to petitioner.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Lindsay Geraghty:                             $45,340.87

                                                      Respectfully submitted,

                                                      BRIAN M. BOYNTON
                                                      Principal Deputy Assistant Attorney General

                                                      C. SALVATORE D’ALESSIO
                                                      Acting Director
                                                      Torts Branch, Civil Division

                                                      HEATHER L. PEARLMAN
                                                      Deputy Director
                                                      Torts Branch, Civil Division


1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
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                                          TRACI R. PATTON
                                          Assistant Director
                                          Torts Branch, Civil Division

                                          s/ Tyler C. King
                                          TYLER C. KING
                                          Trial Attorney
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Dated: June 20, 2022




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